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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


BRIDGET MCMAHON and JAMES RICE,                CIVIL ACTION
on behalf of themselves and all others
similarly situated,                            No. 2:20-cv-01448-WSS

                     Plaintiffs,

              v.

CHIPOTLE MEXICAN GRILL, INC., t/d/b/a
CHIPOTLE,

                     Defendant.


            PLAINTIFFS’ MOTION FOR LEAVE TO TAKE DEPOSITIONS

       Plaintiffs Bridget McMahon and James Rice, on behalf of themselves and all

others similarly situated, and through their undersigned counsel, move this Honorable

Court for leave to take depositions upon the following grounds:

       1.     Federal Rule of Civil Procedure 30(a)(2)(A)(i) states that a party seeking

to take depositions, to the extent the other party has not stipulated, is to obtain leave of

court if “the deposition would result in more than 10 depositions being taken under this

Rule…by the Plaintiffs.”

       2.     That same rule states that “the court must grant leave to the extent

consistent with Rule 26(b)(1) and (2). Fed. R.Civ.P. 30(a)(2).

       3.     Defendant Chipotle produced records that, contrary to the defenses raised

in its Answer, shows that Chipotle either (a) had a corporate-wide policy of

short-changing customers who used cash to purchase food in Pennsylvania beginning
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in early 2020, or (b) knew about, but ignored, a pervasive practice of short-changing

Pennsylvania cash customers since that time.

          4.      On February 2, 2022, Plaintiffs took the deposition of Joshua Phillips,

Chipotle’s Senior Director of Safety and Asset Protection (not yet transcribed). Mr.

Phillips was shown each of 29 short-change complaints sent to Chipotle, occurring at 21

different Chipotle locations across the Commonwealth of Pennsylvania. Mr. Phillips

contends that he knew nothing about those complaints, and was not aware of any

discipline, response to employees, or further communications with the offending stores.

          5.      Mr. Phillips acknowledged that it would not be appropriate to short-change

customers, “if that happened.”

          6.      On February 3, 2022, Plaintiffs served a Notice upon Defendant, seeking

to take remote depositions, not to exceed one hour each, of the managers for the stores

where we now know for certain that Chipotle short-changed customers. A copy of the

Notice is attached hereto as Exhibit 1.1

          7.      In addition, Plaintiffs served Notices for the depositions of several

directors and officers of Chipotle, based on the Court’s January 26, 2022 Order

compelling Chipotle to produce its Enterprise Warehouse Data, and based on the

testimony of Joshua Phillips:

                        (a)     Plaintiffs seek to take the deposition of Jason Skoggins,
                                Chipotle’s Senior Director of Royalty and CRM. See
                                Exhibit 2. Mr. Skoggins was identified by Joshua
                                Phillips as the person who is most likely familiar with

1   Plaintiffs (before receiving the above-reference documents) previously Noticed the depositions of some
    random Chipotle managers. Defendant claimed that there had been a turnover of managers at some of
    those stores, refused to provide the former managers’ last known addresses, and refused to make the
    “current” managers available because they allegedly would not have relevant information. Thus, the
    current Notice asks Chipotle to provide the next highest-ranking person who is still at the store, if the
    manager is no longer employed.
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                           Chipotle’s Rewards Program and its database – which
                           Plaintiffs believe is capable of identifying cash
                           transactions, tying those transactions to individual
                           customers and potential class members;

                    (b)    Plaintiffs seek to take the deposition of Ann Keast,
                           Chipotle’s Director of Internal Communications. See
                           Exhibit 3. She was described in Joshua Phillips’
                           deposition as the head of a department of “two or three
                           people”      who    formulated  and/or    disseminated
                           information regarding Chipotle’s cash-handling policies
                           and practices (per the direction of Chipotle’s
                           executives) which practices and policies are relevant to
                           Plaintiffs’ claims;

                    (c)    Plaintiffs seek to take the deposition of Kurt Garner,
                           Chipotle’s Chief Technology Officer. See Exhibit 4. It
                           is believed that Mr. Garner would have the most and
                           best familiarity with Chipotle’s data retention and
                           methods, and Chipotle’s capabilities for accessing and
                           preserving information relating to cash transactions and
                           accounting therefor;

                    (d)    To the extent Mr. Garner disclaims specific knowledge
                           of how, when, where, or why data is kept by Chipotle,
                           Plaintiffs served a 30(b)(6) Notice. See Exhibit 5.

       8.     Although more than two weeks have passed since this Court’s Order

compelling discovery from Chipotle (none of which has yet been provided, including the

simple removal of redactions relating to customer complaints), and although more than

a week has passed since the Notices were served, Chipotle has not provided any

objections to the depositions, other than to vaguely state – on February 9, 2022 – that it

will “have several issues to confer about” regarding the depositions.

       9.     Particularly in light of Chipotle’s insistence that no discovery should extend

beyond the end of February, Plaintiffs asked Chipotle to immediately advise of its

specific objections (if any). Plaintiffs also noted their willingness to be flexible if Chipotle

was objecting to the timing of the depositions, despite its insistence. See Exhibit 6.
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       10.    As of the date of this Motion, Chipotle has refused or failed to articulate

valid objections or stipulate to the depositions, and this Motion is filed now because of

concerns that Chipotle is seeking to “run out the clock” on Plaintiffs in order to avoid

having to respond to discovery.

       11.    The depositions sought are appropriate, and consistent with Rules

26(b)(1) and (2). Without limitation:

                   (a)    Chipotle cannot legitimately contend that the
                          information sought is not relevant. The discovery
                          strikes at the heart of Chipotle’s presumed defenses to
                          class action, and its denial that it engaged in, or
                          acquiesced in, a corporate-wide policy or practice
                          resulting in the short-changing of consumers. Further,
                          and to the extent Chipotle contends that there is no way
                          to determine the identity of putative class members,
                          Plaintiffs are entitled to explore Chipotle’s various
                          robust data systems and to question those charged with
                          the most knowledge of how those systems retain and
                          use information regarding cash transactions.

                   (b)    The depositions are likewise proportional to the needs
                          of the case, since Chipotle (presumably) will challenge
                          at least some of the Rule 23 criteria. However, until the
                          Court compelled production (still not received), Chipotle
                          had exclusive access to their data and information
                          which, without the requested discovery, severely
                          prejudices Plaintiffs’ ability to address Chipotle’s
                          alleged defenses to both certification and substance.

       12.    The depositions of 21 managers is not excessive or unwarranted if

Chipotle (as it has) contends, inter alia, that there are no common questions of law or

fact relating to Chipotle’s conduct which predominates over individual questions (Rule

23(a)(2) and (b)(3) criteria). Nor are the depositions of Chipotle’s directors/executives

excessive or unwarranted, given Chipotle’s monopoly over control of its data and
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methods, and the lack of personal knowledge of its proffered Director of Asset

Protection.

         WHEREFORE, Plaintiffs respectfully move that this Court grant leave and

confirm that the depositions of the individuals set forth in Exhibits 1 through 5 hereto

can proceed.




                                               Respectfully submitted,

                                               ROTHMAN GORDON, P.C.


                                               By:    /s/ Frank G. Salpietro
                                                      Frank G. Salpietro, Esquire
                                                      Pa. I.D. No. 47154

                                               310 Grant Street – 3rd Floor
                                               Pittsburgh, PA 15219
                                               fgsalpietro@rothmangordon.com

                                               Attorneys for Plaintiffs




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